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                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION

________________________________________________________________________


UNITED STATES OF AMERICA,                  :         Case No. 2:21-CR-00140-JNP

                      Plaintiff,           :
                                                     ORDER AUTHORIZING DISCLOSURE
       v.                                  :         OF SECTION 6103 MATERIAL AND
                                                     PROTECTIVE ORDER
SEZGIN BARAN KORKMAZ,                      :
                                                     District Judge Jill N. Parrish
                      Defendant.           :

                                           :



ORDER DISCLOSING TAXPAYER INFORMATION PURSUANT TO 26 U.S.C. § 6103
and PROTECTIVE ORDER PERTAINING TO MATERIAL COVERED BY § 6103 AND
                         ALL DISCOVERY


       Upon motion of the United States, this Court being advised as to the nature of this case, it

is hereby:

       ORDERED that pursuant to Rule 16(d)(1), Federal Rules of Criminal Procedure, counsel

for defendant shall not provide defendant with copies of any discovery material produced by the

government which contain:

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       (a) personal identifying information of any individual, including without limitation, any

           individual’s date of birth, social security number, address, telephone number, email

           address, driver’s license number, professional license number, or family members’

           names (“Personal Information”) unless it belongs to the defendant or unless defense

           counsel first redacts the Personal Information from the discovery material.

       (b) financial information of any individual or business, including without limitation, bank

           account numbers, credit or debit card numbers, account passwords, account names

           and contact information, account history, account balances, account statements, tax

           return information, or taxpayer identification numbers (“Financial Information”)

           unless it belongs to the defendant, or unless defense counsel first redacts the Financial

           Information from the discovery material.

       IT IS FURTHER ORDERED that the defendant is allowed to view the unredacted

discovery in the possession of defense counsel, but neither defense counsel nor defendant shall

provide any unredacted discovery material produced by the government to any person not a party

to this case without the government’s express written permission, except that defense counsel

may provide discovery material to those persons who are necessary to assist counsel of record in

preparation for trial or other proceedings.

       IT IS FURTHER ORDERED that attorneys for the government are authorized to disclose

to the defendant and defense counsel of record tax returns and tax return information under 26

U.S.C. § 6103, which the United States intends to disclose in order to fulfill its statutory and

Constitutional discovery obligations in this case.

       IT IS FURTHER ORDERED that disclosure of the 26 U.S.C. § 6103 material is ordered

for purposes of defending this case, and that such disclosure only be made to the defendant,



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 counsel of record, and the defense team; that such 26 U.S.C. § 6103 materials be maintained in

 the defense attorneys’ custody; that such materials shall not be reproduced or disseminated; and

 that upon request, such materials shall be returned to the United States at the end of this case.

        IT IS FURTHER ORDERED that the defendant and defense counsel are prohibited from

 disclosing any information provided in discovery to any third parties, except to the extent

 necessary to prepare for a potential trial in this case; and defense counsel is precluded from

 leaving copies of any material provided in discovery with the defendant.

                            24th day of August, 2022
                 DATED this ____




                                             __________________________________
                                             JARED C. BENNETT
 Presented by:                                 U.S. Magistrate Judge

 TRINA A HIGGINS
 United States Attorney

 /s/ Richard M. Rolwing
 RICHARD M. ROLWING
 Special Assistant United States Attorney
 JOHN E. SULLIVAN
 Senior Litigation Counsel




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